                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )          No. 3:13-00121
                                                )          JUDGE CAMPBELL
EMILIA TIRADO-MEDINA                            )

                                            ORDER

        Pending before the Court is the Defendant’s Third Motion To Continue Sentencing

Hearing (Docket No. 42). Through the Motion, the Defendant seeks a continuance of the

sentencing hearing, currently set for August 29, 2014.

        The Motion is GRANTED. Accordingly, the sentencing hearing is CONTINUED to

January 5, 2015, at 3:00 p.m. The sentencing hearing will not be continued again, absent

extraordinary circumstances.

        It is so ORDERED.



                                                    _________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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